                   2:21-cv-02293-CSB-EIL           # 11-2       Filed: 08/11/22        Page 1 of 3
                                                                                                               E-FILED
                                                                              Thursday, 11 August, 2022 11:27:11 AM
George Vargas                                                                           Clerk, U.S. District Court, ILCD

From:                            Miller, Patricia D. (WMC) < Patricia.Miller18@va.gov>
Sent:                            Tuesday, May 18, 2021 4:37 PM
To:                              peterson@shout.net; George Vargas
Cc:                              Bransky, Shawn M.; Morgan, Tim (OGC); Haq, Ehtsham; Grich, Pamela L. MD; Trigero,
                                 Sara L. VHAREN
Subject:                         DAB Danville Board Advisement re request to re-schedule and continuity of the hearing
                                 dates
Attachments:                     B-19 DAB Danville Response to Applnt req -extension and nonconcurrent hearing days
                                 - expert witness decision pending.pdf


Good Afternoon,

Please find attached the Board's response to Attorney Vargas' email of May 17, 2021.

Best regards,

Patricia "Patty" Miller
HR Specialist ER/LR
Human Resources Operations Office, HROO {106A6)
Workforce Management and Consulting (106A)
Veterans Health Administration
US Department of Veterans Affairs
Phone: (414) 208-8901

How was my service today? We value your feedback-please click on the link to take the WMC Quick Card Survey




                                                 Exhibit 2  1
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                           DEPARTMENT OF VETERANS AFFAIRS
                                   Veterans Health Administration
                               Workforce Management and Consulting
                          Consolidated Human Resources Management Office




May 18, 2021

John Peterson, M.D.
702 West Pennsylvania Ave.
Urbana, IL 61801

Subject: Disciplinary Appeals Board Hearing - Advisement re: request to re-schedule the
hearing date and continuity of the hearing dates

1. This is to inform you that the Board received your May 17, 2021 email entitled "Expert
Disclosure" and has determined the following:

           a. The Board denies your request for an extension to the hearing date. The
              Appellant was granted three extension requests, the last being March 19, 2021.
              There is time for the expert witness, if approved, to review the evidence file
              prior to the hearing.

           b. The Board has consistently communicated, on no less than four occasions, that
              if the hearing is not completed on the first day scheduled, it will resume the
              following day. It is the Board's expectation that if the hearing is not completed
              on the first day that it will continue the following day as set forth in the notices
              received by all parties.

           c. The Board will render a decision on your expert witness after the pre-hearing
              WebEx meeting on May 19, 2021.

2. For further questions or information regarding this matter, please contact Patricia Miller,
Technical Advisor, at 414-208-8901.
                                                                  " Digitally signed by
                                                         • • d.
                                                   patnc1a        " patricia d. miller 276097
                                                   ml.lier 276097
                                                                •
                                                                   .Date: 2021.05.18
                                                                    16:34:30 -05'00'

                                                   for
                                                   Ehtsham Haq, M.D.
                                                   Chairperson,
                                                   Disciplinary Appeals Board


cc: George Vargas, Attorney, Steigmann Law, PC, Appellant's Representative
    Tim Morgan, Attorney, Office of General Counsel, Midwest District, Agency Representative
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Disciplinary Appeals Board Hearing- John Peterson, M.D.


    Shawn M. Bransky, Director, llliana Health Care System
    Pamela L. Grich, M.D., Board Secretary
    Sara Trigero, M.D., Board Member
    Patricia Miller, Technical Advisor
